Case 1:14-ml-02570-RLY-TAB Document 22487
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                                                                                          Aug 04, 2022
                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

    IN RE: COOK MEDICAL, INC., IVC
    FILTERS MARKETING, SALES PRACTICES AND                        Case No. 1:14-ml-2570-RLY-TAB
    PRODUCT LIABILITY LITIGATION                                            MDL No. 2570


    This Document Relates to:

    White, Jerri – Case No. 1:18-cv-00101


                         STIPULATED DISMISSAL WITH PREJUDICE

          The parties in the above-captioned case hereby stipulate, pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii) and CMO-28, that Plaintiff’s claims1 against all Defendants shall be

dismissed with prejudice. Each party shall bear its own fees and costs.

Dated: May 19, 2022


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1
  The remaining claims in Plaintiff’s case are negligent infliction of emotional distress and intentional
infliction of emotional distress. See May 10, 2022 Order, Dkt. 21965.
